Appendixts-* ECF No. 37-9, PagelD.1581 Filed 10/07/24 Page 1of6

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UNITED STATES DISTRICT COURT FOR

THE EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION

Katrina Bergunder,

Plaintiff, Case No. 23-12886
V. Hon. Sean F. Cox
JPMorgan Chase Bank, N.A.,
Defendant.

Katrina Bergunder Aimee R. Gibbs (P70522)

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Attorneys for Defendant JPMorgan
Chase Bank, N.A

AFFIDAVIT OF KATRINA BERGUNDER

I, Katrina Bergunder, being duly sworn, depose and state as follows:

1. Identity: | am the Plaintiff in the above-captioned matter. I reside at 24674 Republic

Ave, Oak Park, Michigan 48237.

2. State Court Decision: On February 21, 2023, the 45th District Court of Michigan

dismissed with prejudice a collection lawsuit brought against me by JPMorgan Chase

Bank, N.A. (Exhibit B). The state dismissal with prejudice served as an adjudication on

the merits, determining that the alleged debt was not valid or enforceable.

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3. State Court Case: The dismissal with prejudice came after Chase violated court orders,
did not participate during the allotted time for discovery, made several mistakes including
the court returning both a Default Judgement as I had submitted my Answer and an
unstipulated to Dismissal, provided a witness list without contact information, and not
coming to trial prepared (Exhibit C-K, with highlights on Register of Actions on Exhibit
S). In my answer, I raised several defenses including challenging the amount owed, the
contract, and fraud suspected on the account. In my Answer and the three pre-trial
conferences and to no avail, I begged and pleaded for Chase to negotiate and reasonably
resolve our issues.

During discovery, I submitted evidence. On February 21, 2023, I came to trial prepared:
having spent hundreds of hours researching, requesting books from other libraries, going
to law schools to use their law libraries (which has restricted access times for the public),
organizing my information and court documents, and writing and practicing my trial
presentation. The state dismissal with prejudice served as an adjudication on the merits,
determining that the alleged debt was not valid or enforceable.

4. Chase’s Continued Reporting in Disputes and Reinvestigations: Despite the state
court’s dismissal with prejudice, Chase continued to report the debt as unpaid on my
credit reports. Chase verified this inaccurate, incomplete, and misleading information in
May and June 2023 while adding an additional 22 months as in default in response to the
disputes | filed with Experian, Equifax, and TransUnion (Exhibits L - R) which all
included copies of the dismissal with prejudice order and the Register of Actions for the
case. The months added in default because of my initial disputes caused my credit score

to dramatically go down by over 30 points for each reporting agency (Exhibit P & R). I

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felt that their adding 22 months as default as well as verifying the incomplete and
inaccurate information as a retaliatory reaction done maliciously and vindictively because
of losing their case against me and an attempt to force me into payment of a debt I legally
did not owe.

On reinvestigation, which I sent by USPS Certified Mail and included copies of the
dismissal with prejudice and the Register of Actions, the accuracy and completeness was
reasserted by Chase, and another month was added to default, though TransUnion deleted
the tradeline (Exhibits T ,U, V, X. Y, Z, AA, BB).

5. Certified Mailings: On May 17, 2023, and June 5, 2023, | sent certified letters directly to
Chase, providing evidence of the state court’s dismissal with prejudice and requesting
that Chase correct the inaccurate information on my credit report (Exhibits S, W). Chase
failed to appropriately address or investigate these letters, continuing to report the debt as
valid (Exhibits CC, DD, EE, FF, GG), owed, accurate, and complete.

6. Current Case: As a result of Chase’s continued inaccurate and incomplete reporting due
to failed investigations, which has negatively impacted me, with hired assistance I filed
this FCRA lawsuit against Chase.

7. Harm Suffered: As a result of Chase’s actions, years of my mortal life have been on
hold, my credit worthiness dropped significantly, | have had my access to credit limited
and terminated (Exhibit HH), and causing me daily stress and anxiety - which includes
nausea, disturbed sleep, lack of appetite, loss of weight, anxious puking, and inability to
be present which resulted in ruining several family outings, paid events, and lower

quality of work. I have now spent hundreds of hours not working trying to correct this

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issue while retaining my experiences and suffer ongoing emotional distress due to

Chase’s continued misreporting of the debt.

8. Realization of Chase's Recurrent Practices: During my research, | reviewed several
articles and official documents concerning JPMorgan Chase’s debt collection practices
(Exhibits KK, LL, NN). One article I came across was titled "A Return to Robo-Signing:
JPMorgan Chase Has Unleashed a Lawsuit Blitz on Credit Card Customers" by Patrick
Rucker (Exhibit KK), originally published in The Capitol Forum and available through
ProPublica. | also examined the Consumer Financial Protection Bureau's Administrative
Proceeding, /n the Matter of Chase Bank, USA, N.A., and Chase BankCard Services, Inc.,
Consent Order, File No. 2015-CFPB-0013 (July 8, 2015) (Exhibit NN).

These materials describe practices by Chase, including the use of unverified
documentation in debt collection lawsuits, which led to significant penalties and legal
actions. Upon reviewing these documents, | recognized similarities between these
described practices and Chase’s actions in my state court case, where they pursued a
flimsy debt claim without the necessary ordered documentation and were unprepared for
trial.

This information has led me to conclude that my experiences may reflect broader issues
previously identified in public records and regulatory findings.

9. FCRA Violations: I believe Chase’s actions have resulted in violations of the FCRA.

10. The inaccurate and incomplete information is still present on my credit report as of
checking it on 8/30/24, which Chase has added negative reporting for August 2023,
September 2023, October 2023, and November 2023. I was unaware of the additional

changes in reporting until viewing the reports on 8/30/24.

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1 affirm under penalty of perjury that the foregoing is true and correct to the best of my
knowledge.

Respectfully submitted,

By: /s/ Katrina Bergunder
Katrina Bergunder

24674 Republic Ave

Oak Park, MI 48237
(773)853-7085

Dated: September 1, 2024

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